 

IN THE CIRCUIT COURT OF THE TWELFTH CIRCUIT
IN AND FOR MANATEE COUNTY, FLORIDA
CIVIL DIVISION

CYNTHIA LEE HORVATH, as Personal
Representative of the Estate of Amanda Whidden,

Plaintiff, Case No.: 2016-CA-5583
v.

ARMOR CORRECTIONAL HEALTH SERVICES, INC.,
THOMAS DOW; ALFREDO FERNANDEZ, MD;

PAULA BROWN, RN; JEANETTE KEYSO, LPN;

RACHEL L. MARLOW, LPN; DAWN M. McMULLEN, LPN;
FRANKIE MERIMAN, LPN; and GREGORY B. ADAMS, RN.

Defendants.

 

SECOND AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

Now comes Plaintiff, CYNTHIA LEE HORVATH, as Personal Representative of the
Estate of Amanda Whidden, by and through counsel, sues Defendants, ARMOR
CORRECTIONAL HEALTH SERVICES, INC., THOMAS DOW; ALFREDO FERNANDEZ,
MD; PAULA BROWN, RN; JEANETTE KEYSO, LPN; RACHEL L. MARLOW, LPN; DAWN
M. McMULLEN, LPN; FRANKIE MERIMAN, LPN; and GREGORY B. ADAMS, RN, and
alleges the following:

PRELIMINARY STATEMENT

l. This is an action for medical negligence, abuse and neglect of a vulnerable adult and
violations of civil rights action in Which Plaintiff seeks relief for violations of her late daughter’s
rights secured and guaranteed by Title 42, Section 1983 of the United States Code ("U.S.C."), the
Fourth, Eighth and/or Fourteenth Arnendments to the United States Constitution, the laws of the

United States, and the laws of the State of Florida.

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2. The claims asserted herein arise from the December 25, 2014 death of Amanda Whidden,
age 34, due to complications of her withdrawal symptoms because Armor’s medical staff acted
negligently and with deliberate indifference and were negligent/deliberately indifferent to her
serious medical needs and failed to properly manage, monitor and treat her withdrawal
symptoms, which became life threatening, as she laid in her jail cell in general population until
she ultimately died in the early morning hours of Christmas of 2014.

3. The claims asserted herein arise from acts, failures to act, and omissions committed, and
policies, procedures, and customs in place and/or implemented, while Decedent, Amanda
Whidden, was in the custody of the Manatee County Sheriff and during her detention at the
Manatee County, Florida Jail/detention facility (the "Manatee County Jail") from on or about
December 23-24 and early into the 25th of 2014, during which time the Defendants, all of whom
were acting under the color of law, violated the known and clearly established Constitutional
rights of Decedent’s right to necessary medical care, and treatment.

4. Defendants, THOMAS DOW, ("DOW"), ALFREDO FERNANDEZ, M.D.,
("FERNANDEZ"), PAULA BROWN, ("BROWN"), JEANETTE KEYSO, L.P.N., ("KEYSO"),
RACHEL L. MARLOW, L.P.N,, ("MARLOW"), DAWN M. MCMULLEN, L.P.N.,
("MCMULLEN"), FRANKIE MERIMAN, L.P.N., ("MERIMAN"), and GREGORY B.
ADAMS, RN (ADAMS), (collectively, the "Health Care Defendants") acted willfully, wantonly,
maliciously, and with reckless and callous disregard for and deliberate indifference to the serious
medical needs of Amanda Whidden, and in a manner that shocks the conscience and offends
traditional notions of decency, all of which led to her wrongful and untimely death.

5. Defendants, ARMOR CORRECTIONAL HEALTH SERVICES, INC., “ARMOR”,
THOMAS Dow, "Dow", ALFREDo FERNANDEZ, M.D., "FERNANDEZ", PAULA

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BROWN, RN, "BROWN", JEANETTE KEYSO, L.P.N., "KEYSO", MCHEL L. MARLOW,
L.P.N,, "MARLOW", DAWN M. MCMULLEN, L.P.N., "MCMULLEN", FRANKIE
MERIMAN, L.P.N., "MERIMAN", and GREGORY B. ADAMS, RN, “ADAMS”, implemented
and/or had in place, at all times relevant, policies and customs that violated and/or that were
applied in such a way that they violated the constitutional rights of pre-trial detainees at the
Manatee County Jail, including Amanda Whidden, to prompt and adequate medical care to treat
serious medical needs.
6. Plaintiff seeks monetary damages (compensatory and punitive), as well as an award of
costs and reasonable attomeys' fees, and all such other relief as the Court deems appropriate.
PRELIMINARY ALLEGATIONS
7. This action is brought, in part, under Title 42 U.S.C. § 1983 and under the Fourteenth
Amendment of the United States Constitution and pursuant to the general laws of the United
States and the laws of the State of Florida.
8. Plaintiff alleges that the conduct of each Defendant deprived Decedent, Amanda
Whidden, of her Constitutional right to life, and to medical and mental health care for her serious
medical condition(s) and needs, and caused Amanda Whidden to suffer grievous physical and
mental pain, suffering, anxiety, harm, and death while detained in the Manatee County Jail and
under the direct and continuous custody, control, supervision, and care of the Defendants.
9. Each of the Defendants named in the following Claims For Relief caused and is
responsible for the unlawful conduct and resulting harm by, inter alia, personally participating in
the conduct, or acting jointly and in concert with others who did so; by authorizing, acquiescing,
or failing or refusing, with deliberate indifference to and reckless disregard for Amanda
Whidden's clearly established and known rights, to initiate and maintain adequate training,

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supervision, and staffing; by failing to maintain proper and adequate policies, procedures and
protocols, and customs and practices; and by ratifying the unlawful conduct performed by agents
medical providers, personnel, and employees under their direction, supervision, and control.

JURISDICTION AND VENUE
lO. The Court has jurisdiction over this matter pursuant as the amount in controversy exceeds
315,000.00 exclusive of cost, interest and attomey’s fees.

PARTIES

ll. Plaintiff, CYNTHIA LEE HORVATH, is the duly appointed Administrator of the Estate
of Amanda Whidden, Deceased, Manatee County, Florida Probate Court Case No.
2015CP001210AX, and at all times relevant is and was a citizen of the United States of America,
residing in the state of Florida. Letters of administration attached hereto as EXhibit “A”.
l2. Plaintiff, Cynthia Lee Horvath, is the Mother of Amanda Whidden, deceased. Plaintiff,
Cynthia Lee Horvath, is hereby identified as a potential beneficiary under Florida's Wrongful
Death Act, including, but not limited to, Fla. Stat. § 768.21.
l3. In bringing this action against the above-named Defendants, Plaintiff, Cynthia Lee
Horvath, acts in her representative capacity for the benefit and on behalf of the Estate of Amanda
Whidden.
l4. Prior to her death, Decedent, Amanda Whidden, was a citizen of the United States of
America residing in the state of Florida and entitled to the protections of the Constitutions and
laws of the United States of America and the State of Florida.
15. At all times relevant, Defendant, ARMOR, is and was a Florida Corporation, which
contracted with Manatee County Sheriff’ s Office to provide adequate, necessary, and reasonable
medical and mental health care, screening, assessment, treatment, intervention, referral, and

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attention to those detained at the Manatee County Jail, and which was acting under color of law.
Defendant, ARMOR, is sued in its individual corporate capacity.

16. At all times relevant, Defendant, THOMAS DOW, was the Health Services
Administrator, and was responsible for the administration, operation, and supervision of the
medical staff working at the Manatee County Jail, and for the promulgation, enforcement and
review of rules, regulations, policies, customs, and practices relevant thereto, who was acting
under color of law. Defendant, DOW, is sued in his individual capacity

l7. At all times relevant, Defendant, PAULA BROWN, RN, was the Director of Nursing and
was responsible for the administration, operation, and supervision of the medical staff working at
the Manatee County Jail, and for the promulgation, enforcement and review of rules, regulations,
policies, customs, and practices relevant thereto, who was acting under color of law. Defendant,
BROWN, is sued in her individual capacity

18. At all times relevant, Defendant, ALFREDO FERNANDEZ, M.D., was the Medical
Director at the Manatee County Jail and Was responsible for the administration, operation, and
supervision of the medical staff working at the Manatee County Jail, and for the promulgation,
enforcement and review of rules, regulations, policies, customs, and practices relevant thereto,
who was acting under color of law. Defendant, FERNANDEZ, is sued in his individual capacity.
l9. Defendants, DOW, BROWN and FERNANDEZ, operated, maintained and/or controlled
the medical facility at the Manatee County Jail at which Amanda Whidden was detained from on
or about December 23-25, 2014, during which time she was under the custody, control and care
of Manatee County Jail, including the employees and agents of the Armor Correctional Health

Services, lnc.

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20. At all times relevant, Defendants, DOW, BROWN and FERNANDEZ, were under a non-
delegable duty to promulgate policies, practices, procedures and/or customs to ensure that
detainees at the Manatee County Jail were provided with adequate, necessary, and reasonable
medical and mental health care, screening, assessment, treatment, intervention, referral, and
attention.
2l. At all times relevant, Defendants, DOW, BROWN and FERNANDEZ, were under a non-
delegable duty to provide adequate, necessary, and reasonable medical and mental health care,
screening, assessment, treatment, intervention, referral, and attention to those detained at the
Manatee County Jail.
22. At all times relevant, Defendants, KEYSO, MARLOW, McMULLEN, MERIMAN and
ADAMS, were medical/health personnel who were directly responsible for Amanda Whidden's
medical care while she Was detained at the Manatee County Jail, acting under the color of law
and within the course and scope of their employment with Defendant, ARMOR. These
Defendants are sued in their individual capacities. The individually named defendants will
collectively be referred to as “The Health Care Defendants”.
23. At all times relevant, the Health Care Defendants were acting within the course and scope
of their employment and/or agency with Defendant, ARMOR, such that Defendant, ARMOR is
vicariously liable for the Health Care Defendants' conduct, including their actions and omissions.
CONDITIONS PRECEDENT/NOTICE OF CLAIM(S)
24. On August 26, 2016 Plaintiff served a Notice of Intent to Commence Litigation, pursuant
to Florida Statute, Chapter 766, on Defendants, ARMOR, and all other entities as required under
Florida law. By letter dated November 29, 2016, Defendant, ARMOR denied Plaintiffs claims
relative to her Notice of Intent to Commence Litigation.

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25. To the extent applicable, Plaintiff has complied with all conditions precedent to the filing
of this action, or such conditions have otherwise been waived.

GENERAL FACTUAL ALLEGATIONS
26. Decedent, Amanda Whidden, was detained at the Manatee County Jail from on or about
December 23-25, 20l4. During this period of detention, Amanda Whidden was within the
continuous exclusive custody, supervision, and control of Defendants, ARMOR, and the Health
Care Defendants.
27. Amanda Whidden was 34 years old upon intake at the Manatee County Jail on December
23, 2014. Ms. Whidden had a history of substance abuse with a noted long term history of
Heroin abuse with history of withdrawal, including seizures.
28. Amanda Whidden had a medical history of Asthma going back to childhood as reported
by the patient on intake and in prior records and used an Albuterol inhaler.
29. On intake on December 23, 2014, Amanda Whidden reported that she had used cocaine
and injected heroin on the morning of being taken into custody,
30. The intake nurse, Jeanette Keyso, LPN, documented that Amanda Whidden was under the
influence of drugs, Was disheveled, unsteady on her feet and very drowsy or sleepy. The nurse
reported a history of Asthma and noted that the patient reported recent withdrawal, including
seizures l month ago while detoxing.
3l. Despite this history being reported to the intake LPN (Keyso) and Jeanette Keyso
discussing these symptoms, including lethargy and being under the influence of drugs, with
Gregory B. Adams, RN, Amanda Whidden was sent to general population, instead of the medical
infirmary. lt is not indicated whether the medical director was notified of Amanda Whidden’s

current condition and reported history.

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32. Placing an inmate with a reported history, such as Amanda Whidden’s, into general
population and while under the influence of drugs, instead of into the infumary was reckless as
this inmate had a serious medical condition which needed to be monitored closely and the
medical director should have been immediately notified.

33. Amanda Whidden’s high likelihood of experiencing withdrawal symptoms, along with
her underlying medical condition (asthma), necessitated that she be housed in a medical wing
where medical personnel could closely observe, assess and act in the event of the onset of
withdrawal and/or medical complications commonly associated with withdrawal symptoms.

34. On December 24, 2013, Amanda Whidden began to experience withdrawal symptoms as
evidenced by an increased blood pressure during the a.m. check by an unknown Arrnor LPN,
There is no indication that this vital sign was relayed to anyone. Medical personnel should have
been closely monitoring Amanda Whidden to observe, assess and act upon this type of clinical
presentation. This was not done. The blood pressure was merely recorded, but no action was
taken to notify the medical director, an RN or anyone to determine what action needed to be
taken and instead her withdrawal symptoms were left to worsen, in an untreated and unsupervised
manner.

35. On December 24, 2014, the pm LPN doing rounds documented Amanda Whidden’s blood
pressure at 188/110. Again no immediate action was taken. The medical director was not
contacted, and it was an hour before any withdrawal/detox medications were attempted to be
initiated, but Amanda Whidden’s condition was not monitored after administration of the
medication. This blood pressure reading required immediate attention as this blood pressure
reading at this level is a medical crisis, particularly in an individual withdrawing from Heroin and
Cocaine. Despite documenting this dangerously high blood pressure, the nurse did not take her

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blood pressure when she returned an hour later to administer the medications. Also noted was
that Amanda Whidden was having nausea, vomiting and diarrhea and yet she was not transferred
to the infirmary, or at this point to a hospital as it clear she was in distress. Without being able to
monitor Amanda, no one could determine whether her condition was improving, worsening or
staying the same.

36. Approximately an hour after taking Amanda Whidden’s vitals, withdrawal medication
was administered but likely had no effect as Amanda Whidden was experiencing vomiting,
diarrhea and respiratory distress. Amanda Whidden’s blood pressure was not re-checked at this
time either. Being left in general population and not taken to the infirmary aRer documenting
vital signs/blood pressure as high as Amanda Whidden’s was is unfathomable. Amanda
Whidden needed immediate medical attention. Failure to provide it was outrageous and
indifferent to her serious medical needs.

37. Amanda Whidden was found dead in her cell just hours later in the early morning hours
of December 25, 2014, with vomit and diarrhea visible all over her bed.

38. The Armor Correctional medical director, DR. FERNANDEZ, administrator, DOW,
Director of Nursing, BROWN and nurses KEYSO, MERIMAN, MARLOW, MCMULLEN, and
ADAMS, breached all acceptable standards of care and that the treatment of Amanda Whidden
shows neglect and indifference to the withdrawal and medical crisis Amanda Whidden was
experiencing

39. These breaches were the cause/contributing factor to Amanda Whidden’s death.

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FIRST CLAIM FOR RELIEF
(Violation of 42 U.S.C. § 1983 Against Defendants Armor Correctional Health Services,
Inc., Thomas Dow; Alfredo Fernandez, M]); Paula Brown, RN; Jeanette Keyso, LPN;
Rachel L. Marlow, LPN; Dawn M. McMullen, LPN; Frankie Meriman, LPN; and
Gregory B. Adams, RN, in their Individual Capacities, for Deliberate Indifference to
Serious Medical Needs in Violation of Fourteenth Amendment.)
40. Plaintiff restates and incorporates paragraphs 1-39 as though set forth fully herein.
41. This Second Claim for Relief is brought against Defendants, ARMOR, THOMAS DOW;
ALFREDO FERNANDEZ, MD; PAULA BROWN, RN; JEANETTE KEYSO, LPN; RACHEL
L. MARLOW, LPN; DAWN M. MCMULLEN, LPN; FRANKIE MER[MAN, LPN; and
GREGORY B. ADAMS, RN, pursuant to 42 U.S.C. § 1983 for deliberate indifference to and
callous and/or reckless disregard for the rights and critical medical needs of Decedent, Amanda
Whidden, an individual suffering from obvious and known acute medical conditions that required
appropriate care, treatment, assessment, intervention, referral, medication, and attention to
prevent substantial physical deterioration and death.
42. At all times relevant, Amanda Whidden's obvious and known medical conditions required
she receive special medical housing, and close medical supervision to monitor her impairment
and later withdrawal symptoms which staff knew Amanda Whidden was likely to undergo during
her incarceration
43. Defendant, ARMOR, including its employees and agents, The Health Care Defendants,
were informed, knew, or should have known, that while in the custody of Manatee County at the
Manatee County Jail, Amanda Whidden, was impaired, was a longtime user of opiates, suffered

from Asthma and was likely to suffer serious irreparable harm and death, if her withdrawal was

not monitored and appropriately treated.

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44. Despite knowledge of Amanda Whidden’s history, drug use, and medical conditions,
Defendants, ARMOR and The Health Care Defendants, were deliberately indifferent to and/or
acted with callous/reckless disregard for those serious medical needs in failing and/or refusing to
provide the necessary medical care, assessment, evaluation, intervention, referral, and treatment.
45. Despite knowledge of Amanda Whidden's serious medical and mental health conditions
and needs, the Defendants named in this Claim for Relief failed and/or refused, with deliberate
indifference to Amanda Whidden's rights and serious medical and mental health needs, to
properly assess and/or evaluate Amanda Whidden’s serious medical conditions/symptoms, and
failed and/or refused, with deliberate indifference to Amanda Whidden's rights and serious
medical needs, to properly house and classify her within the Manatee County Jail, so that she
would receive timely and adequate access to and delivery of necessary prescription medications
and medical evaluation, assessment, care, intervention, referral, and treatment.

46. The Defendants named in this Claim for Relief knew, or should have known, that taking
little to no action could and would result in the rapid and permanent deterioration of Amanda
Whidden's health and potentially death,

47. As a direct and proximate result of the conduct of the Defendants named in this Claim for
Relief in denying Amanda Whidden necessary medical assessment, evaluation, care, intervention,
referral, and treatment, Amanda Whidden was forced to endure and suffered extreme physical,
mental, and emotional pain and suffering, death, and pecuniary loss, including medical expenses,
funeral and burial expenses, and death,

48. As a direct and proximate result of the conduct of the Defendants named in this Claim for
Relief in denying Amanda Whidden necessary medical and mental health assessment, evaluation,
care, intervention, referral, and treatment, which resulted in her wrongful and untimely death,

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Amanda Whidden and the next of kin of Decedent, suffered, and will continue to suffer, mental
anguish, emotional pain and suffering, loss of society, companionship, comfort, protection, care,
attention, advice, counsel, services, guidance, loss of enjoyment of life, and pecuniary loss,
including medical expenses, funeral and burial expenses, and lost eamings/income and/or
benefits.

WHEREFORE, Plaintiff prays for judgment against Defendants, ARMOR, and the
Medical Defendants jointly and severally, for:

a) Compensatory damages in an amount that will fully and fairly compensate

Plaintiff for their injury, damage, and loss;

b) Punitive damages in an amount that will serve to adequately punish and deter the

conduct alleged herein;

c) Costs of suit and reasonable attomeys' fees pursuant to 42 U.S.C. § 1988; and

d) All such other relief which the Court deems appropriate.

SECOND CLAIM FOR RELIEF
(Violation of 42 U.S.C. § 1983 Against Defendants Armor Correctional Health Services,
Inc., Thomas Dow; Alfredo Fernandez, M]); Paula Brown, RN; Jeanette Keyso, LPN;
Rachel L. Marlow, LPN; Dawn M. McMullen, LPN; Frankie Meriman, LPN; and
Gregory B. Adams, RN, in their Individual Capacities, for Failure to Supervise, Train and
Take Corrective Measures Causing Constitutional Violation.)

49. Plaintiff restates and incorporates paragraphs 1-39 as though set forth hilly herein.
50. Plaintiff is informed and believes and thereon alleges that Defendants, ARMOR and The
Health Care Defendants, knew, or should have known, of a history, custom, propensity, and
pattern at times relevant to the allegations herein for ARMOR employees at the Manatee County
Jail in failing and/or refusing to provide prompt and competent access to and delivery of medical

needs in the assessment, evaluation, care, intervention, referral, and treatment, including to

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Amanda Whidden. These Defendants' disregard of this knowledge, or failure and/or refusal to
adequately investigate and discover and correct such history, customs and propensities,
proximately caused the violation of the Constitutional rights of Plaintiffs Decedent as alleged
herein.
51. Plaintiff is informed and believes and thereon alleges that prior to the incident(s) alleged
herein, the Defendants named in this Claim for Relief and other ARMOR and Health Care
Defendants providers, and doctors, acting under their authority as officers and/or within the
course and scope of their employment with Defendants ARMOR, committed similar acts of:
a) Failing and/or rehising to provide timely adequate access to and delivery of
medical care, assessment, evaluation, intervention, referral, and treatment for detainees at
the Manatee County Jail with obvious and/or known serious medical health conditions
and needs;
b) Failing and/or rehlsing to provide timely adequate access to and delivery of
necessary prescription medications to detainees at the Manatee County Jail;
c) Failing and/or rehlsing to provide adequate housing and properly classify
detainees at the Manatee County Jail so that they will have timely and adequate access to
and delivery of necessary and indicated medical and mental health assessment, evaluation,
care, intervention, referral, and treatment; and
e) Failure and/or refusal to provide adequate monitoring and housing for detainees at
the Manatee County Jail who present a risk of serious medical needs which could lead to
physical and/ or mental harm and death,
52. Plaintiff is informed and believes and thereon alleges that the Defendants named in this
Claim for Relief knew, or should have known, of this pattern or practice of unconstitutional

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violations, or the existence of facts, practices, customs and/or habits, which create the strong
potential for unconstitutional acts, and these Defendants had a duty to supervise, train, and
instruct their subordinates to prevent similar acts to other detainees at the Manatee County Jail,
including Amanda Whidden, but failed and/or refused to take reasonable and necessary steps to
properly supervise, train, instruct, or investigate, physicians, nurses, medical and mental health
personnel and/or agents or employees of Defendants ARMOR and as a direct and proximate
result, Amanda Whidden, was harmed and suffered death,
53. At all times relevant, the Defendants named in this Claim for Relief had the duty:
a) To train, supervise, and instruct deputies, officers, nurses, physicians, medical and
mental health personnel, and other agents and employees to ensure that they respected and
did not violate federal Constitutional and statutory rights of detainees at the Manatee
County Jail with regard to providing necessary medical care and to recognize serious
medical needs such as withdrawal;
b) To objectively investigate incidents of in-custody injury, deaths, inadequate
classifications and contraindicated housing, denials of prescription medications, and to
take necessary remedial action;
c) To provide access to and delivery of timely competent medical and mental health
assessment, evaluation, intervention, referral, care, treatment, follow-up, and attention to
medically ill detainees at the Manatee County Jail, including those suffering from or
likely to suffer from drug withdrawal.
d) To monitor and periodically review the adequacy of medical and custodial staffing
to ensure adequacy of medical and mental health care, treatment, intervention, referral,
and attention rendered to physically ill detainees at the Manatee County Jail;

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e) To monitor and periodically review the classification and housing of physically ill

detainees at the Manatee County Jail to ensure they are properly classified and housed;

f) To comply with the statutory guidelines and the standard(s) of care protecting

detainees at the Manatee County Jail and/or in the custodial setting;

g) To adequately discipline and establish reasonable procedures to document and

correct past violations, and to prevent future violations of Constitutional rights of

detainees at the Manatee County Jail, by not condoning, ratifying and/or encouraging the

violation of Amanda Whidden's and other detainees' constitutional rights; and

h) To adequately and periodically train custodial and medical and mental health staff

on understanding recognizing, reporting, and responding to issues of physical and mental

health/episodes/symptoms, including withdrawal, of detainees at the Manatee County Jail.
54. The Defendants named in this Claim for Relief breached the foregoing duties by:

a) Failing and/or rehising to train, supervise, and instruct deputies, officers, nurses,

physicians, medical and mental health personnel, and other employees of Defendant,

ARMOR, on the violations of the Constitutional rights of Amanda Whidden and other

detainees;

b) Failing and/or refusing to objectively investigate: in custody injury, deaths,

inadequate classifications and contraindicated housing, denials of prescription

medications, and failing and/or refusing to take necessary remedial action, including

treatment of alcohol and/or drug withdrawal;

c) Failing and/or refusing to provide timely competent medical assessment,

evaluation, care, treatment, referral, and intervention for physically ill detainees at the

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Manatee County Jail, including those suffering from withdrawal, which resulted in serious
injury or death;

d) Failing and/or refusing to monitor a detainee's medical condition, which resulted
in serious injury or death;

e) Failing and/or refusing to monitor and periodically review the quality of medical
and mental health assessment, evaluation, care, treatment, referral, and intervention
provided to mentally and physically ill detainees;

f) Failing and/or refusing to monitor and periodically review the timelines and
adequacy of medical and mental health assessment, evaluation, care, treatment, referral,
and intervention rendered to mentally and physically ill detainees;

g) Failing and/or refusing to monitor and periodically review the classification of
detainees at the Manatee County Jail to ensure they are properly housed;

h) Failing and/or refusing to comply with the statutory guidelines and the standard(s)
of care protecting detainees at the Manatee County Jail and/or in the custodial setting;

i) Failing and/or rehising to adequately discipline and establish reasonable
procedures to document and correct past violations, and to prevent future violations of
Constitutional rights of detainees at the Manatee County Jail, by not condoning, ratifying
and/or encouraging the violation of Amanda Whidden's and other detainees' constitutional
rights;

j) Failing and/or refusing to adequately and periodically train custodial and medical
and mental health staff on understanding, recognizing, reporting, and responding to issues

of physical health/episodes/ symptoms of detainees at the Manatee County Jail; and

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k) Overseeing, supervising authorizing, approving of and/or ratifying the medical

care and access thereto provided and not provided to Amanda Whidden.
55. As a direct and proximate result of the conduct of the Defendants named in this Claim for
Relief, Amanda Whidden was forced to endure and suffer extreme physical, mental, and
emotional pain and suffering, death, and pecuniary loss, including medical expenses, funeral and
burial expenses, and lost earnings and/or benefits.
56. As a direct and proximate result of the conduct of the Defendants named in this Claim for
Relief, which resulted in Amanda Whidden's wrongful and untimely death, Amanda Whidden
and the next of kin of Amanda Whidden, including CYNTHIA LEE HORVATH, suffered and
will continue to suffer, mental anguish, emotional pain and suffering, loss of society,
companionship, comfort, protection, care, attention, advice, counsel, services, guidance, loss of
enjoyment of life, and pecuniary loss, including medical expenses, funeral and burial expenses.

WHEREFORE, Plaintiff prays for judgment against Defendants, ARMOR and The
Health Care Defendants, for:

a) Compensatory damages in an amount that will fully and fairly compensate

Plaintiff, for their injury, damage, and loss;

b) Punitive damages against Defendants ARMOR and The Health Care Defendants

in an amount that will serve to adequately punish and deter the conduct alleged herein;

c) Costs of suit and reasonable attomeys' fees pursuant to 42 U.S.C. § 1988; and

d) All such other relief which the Court deems appropriate.

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THIRD CLAIM FOR RELIEF

(Violation of 42 U.S.C. § 1983 Against Defendant Armor Correctional Health Services, Inc.,
Thomas Dow; Alfredo Fernandez, MD; Paula Brown, RN; Jeanette Keyso, LPN;
Rachel L. Marlow, LPN; Dawn M. McMullen, LPN; Frankie Meriman, LPN; and
Gregory B. Adams, RN, in their individual capacities for Custom, Policy, or Practice

Causing Constitutional Violations.)

57. Plaintiff restates and incorporates paragraphs 1-39 as though set forth fully herein.

58. At all times relevant, Defendants, ARMOR and The Health Care Defendants,

promulgated and maintained a de facto unconstitutional custom, policy, or practice of permitting,

ignoring, condoning and/or encouraging, nurses, physicians, medical and mental health

personnel, and other employees and agents to delay and or deny the provision of timely adequate

medical and mental health assessment, evaluation, care, treatment, referral, and intervention;

deny and/or delay the provision of necessary prescription medications, and fail and/or refuse

timely and adequate monitoring, observation, and treatment to detainees at the Manatee County

Jail, including Amanda Whidden, including the lack of, inappropriate and/or inadequate,

incompetent, or untimely:

a) Intake medical and mental health screening, assessment, referral, intervention, and
evaluation;

b) Diagnoses of medical and mental health conditions, behaviors, and symptoms;

c) Recognition of medical and mental health conditions and symptoms;

e) Medical and mental health care treatment and care plans;

f) Administration of prescription medications and treatrnent;

g) Administration, storage, dissemination, and availability of detainees’, including

Amanda Whidden’s medical and mental health records and information;

h)

Tracking of detainees’ status and indicated housing;

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i) Staffing, training, and supervision of nurses, physicians, and/or medical and

mental health personnel;

j) Quality assurance;

k) Housing and classification of detainees in need of medical and/or mental health

assessment, evaluation supervision, referral, treatment, care and/or intervention or

management; and

l) Access and delivery of medical and mental health care.

m) Recognition and appropriate treatment of serious medical needs/ emergencies such

as life threatening drug withdrawal.
59. These customs, policies and/or practices were the direct and proximate cause of the
Constitutional violations visited upon, and the injuries and death of Amanda Whidden, and each
of the Defendants named in this Claim for Relief acting in accordance with these customs,
policies, or practices acted with deliberate indifference to and/or reckless and callous disregard
for the rights and serious medical and mental health needs of detainees, including Amanda
Whidden, at the Manatee County Jail.
60. At all times relevant, the policies, customs and/or procedures referenced in this Claim for
Relief were facially and/or de facto violative of the clearly established and known rights of
detainees at the Manatee County Jail, including Amanda Whidden, and their implementation
constitutes deliberate indifference to and/or reckless and callous disregard for the Constitutional
rights and serious medical and mental health needs of said detainees, including Amanda
Whidden, all of which shocks the conscience and offends traditional notions of decency,
61. At all times relevant, the policies, customs and/or procedures referenced in this Claim for
Relief were applied in such a manner, and known by Defendant’s, ARMOR and The Health Care

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Defendants, to be applied in such a manner, such that violations of the Constitutional rights of
detainees at the Manatee County Jail, including Amanda Whidden, were likely and substantially
certain to, and did, occur. Furthermore, the application and/or misapplication of these policies,
practices and/or procedures amount to deliberate indifference to and reckless and callous
disregard for the Constitutional rights and serious medical and mental health needs of detainees at
the Manatee County Jail, including Amanda Whidden, all of which shocks the conscience and
offends traditional notions of decency,

WHEREFORE, Plaintiff prays for judgment against Defendants, ARMOR and The
Health Care Defendants, jointly and severally, for:

a) Compensatory damages in an amount that will fully and fairly compensate

Plaintiff for their injury, damage, and loss;

b) Costs of suit and reasonable attomeys' fees pursuant to 42 U.S.C. § 1988; and c)

All such other relief which the Court deems appropriate.

FOURTH CLAIM FOR RELIEF
MEDICAL NEGLIGENCE AGAINST ARMOR
(DIRECT AND VICARIOUS LIABILITY)

62. Plaintiff restates and incorporates paragraphs 1-39 as though set forth fully herein.
63. Defendant, ARMOR, is directly liable and vicariously liable for the negligence of agents,
servants, and employees committed during the course and scope of their employment with
ARMOR.
64. At all times pertinent hereto, Defendants, PAULA BROWN, RN; RACHEL L.
MARLOW, LPN; FRANKIE MER[MAN, LPN; an GREGORY B. ADAMS, RN, and others
were an agent, servant or employee of Defendant, ARMOR, acting with the course and scope of
their employment.

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65. At all times pertinent hereto, Defendant, ARMOR and its agents, servants, and employees
who provided health care services to Amanda Whidden had a duty to use that level of care, skill,
and treatment which, in light of all relevant surrounding circumstances, is recognized as
acceptable and appropriate by similar and reasonable health care providers.

66. Defendant, ARMOR and its agents, servants, and employees who provided health care
services to Plaintiff breached their duty with gross negligence. Such breaches of duty included,

but not limited to, the following:

a) Failing to maintain Amanda Whidden on close supervision;

b) Failing to adequately screen and assess and treat Amanda Whidden for risk of
withdrawal;

d) Failing to train and supervise health care personnel to ensure that proper screening

and assessments of inmates at risk for withdrawal were performed;

e) Failing to provide and staff the jail with adequately trained and licensed medical
personnel;
f) Failing to insure that inmates at high risk of withdrawal, such as Amanda

Whidden, were properly treated and monitored;

g) Failing to follow ARMOR’S policies and procedures pertaining to housing and
treating inmates at risk of withdrawal;

i) Failing to adopt and implement adequate policies and procedures for the
prevention of withdrawal;

j) Failing to provide medical care reasonably needed by inmates under their care in
order to maximize profits under the contract with Manatee County;

l) Failing to recognize signs of life threatening withdrawal;

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o) Failing to properly staff the medical wing so as to increase profits; and

p) Failing to comply with Florida Model Jail Standards pertaining to the
prevention of withdrawal.

67. Defendant, ARMOR’S, conduct was so reckless or wanting in care that it constituted a
conscious disregard or indifference to the life, safety or rights of Amanda Whidden.

68. The officers, directors, or manages of Defendant, ARMOR, knowingly condoned, ratified,
or consented to such conduct in that they intentionally understaff the Manatee County Jail and
others in a manner that endangers the lives and safety of the inmate population so as to increase
profitability at the expense of the inmate safety.

69. As a direct consequence and proximate result of the gross negligence of Defendant,
ARMOR, Amanda Whidden died in custody as a direct and proximate cause of improperly
monitored and treated drug withdrawal.

WHEREFORE, the Plaintiff demands judgment against Defendant, ARMOR, for
compensatory damages in excess of Fifteen Thousand Dollars ($15,000.00), plus costs and other
relief this Court deems appropriate and demands a trial by jury.

FIFTH CLAIM FOR RELIEF; MEDICAL NEGLIGENCE AGAINST
PAULA BROWN, RN; RACHEL L. MARLOW, LPN; FRANKIE MERIMAN, LPN
and GREGORY B. ADAMS, RN
70. Plaintiff restates and incorporates paragraphs 1-39 as though set forth hilly herein.
71. At all times pertinent hereto, Defendants, PAULA BROWN, RN; RACHEL L.
MARLow, LPN; FRANKIE MERIMAN, LPN, and GREGORY B. ADAMS, RN, who
provided/should have provided health care services to Amanda Whidden had a duty to use that
level of care, skill, and treatment which, in light of all relevant surrounding circumstances, is
recognized as acceptable and appropriate by similar and reasonable health care providers.

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72. Defendants, PAULA BROWN, RN; RACHEL L. MARLOW, LPN; FRANKIE
MERIMAN, LPN, and GREGORY B. ADAMS, RN, who provided health care services to
Plaintiff, breached their respective duties with gross negligence Such breaches of duty included,

but are not limited to, the following:

a) Failing to maintain Amanda Whidden on close supervision;

b) Failing to adequately screen and assess and treat Amanda Whidden for risk of
withdrawal;

d) Failing to train and supervise health care personnel to ensure that proper screening

and assessments of inmates at risk for withdrawal were performed;

e) Failing to provide and staff the jail with adequately trained and licensed medical
personnel;
f) Failing to insure that inmates at high risk of withdrawal, such as Amanda

Whidden, were properly treated and monitored;

g) Failing to follow ARMOR’S policies and procedures pertaining to housing and
treating inmates at risk of withdrawal;

i) Failing to adopt and implement adequate policies and procedures for the
prevention of withdrawal;

j) Failing to provide medical care reasonably needed by inmates under their care in
order to maximize profits under the contract with Manatee County;

l) Failing to recognize signs of life threatening withdrawal;

o) Failing to properly staff the medical wing so as to increase profits; and

p) Failing to comply with Florida Model Jail Standards pertaining to the
prevention of withdrawal.

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73. Defendants’ conduct was so reckless or wanting in care that it collectively and/or
individually constituted a conscious disregard or indifference to the life, safety or rights of
Amanda Whidden.
74. As a direct consequence and proximate result of the gross negligence of Defendants,
PAULA BROWN, RN; RACHEL L. MARLOW, LPN; FRANKIE MERll\/IAN, LPN and
GREGORY B. ADAMS, RN, Amanda Whidden died in custody as a direct and proximate cause
of improperly monitored and treated drug WithdraWal.

WHEREFORE, the Plaintiff demands judgment against Defendants, PAULA BROWN,
RN; RACHEL L. MARLOW, LPN; FRANK[E MERIl\/IAN, LPN and GREGORY B. ADAMS,
RN for compensatory damages in excess of Fifteen Thousand Dollars ($15,000.00), plus costs
and other relief this Court deems appropriate and demands a trial by jury.

Dated this 17th day of August, 2017.

/s/Patrick W. Harland, Jr., Esq.

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